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                          United States District Court
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 LONNIE CLEMONS,                             §
 #31113-509                                  §

 v.                                          :       CIVIL ACTION NO. 3:25-CV-1411-S-BT

 BUREAU OF PRISONS                           :

      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. No objections were filed. The Court reviewed the proposed findings, conclusions, and

recommendation for plain error. Finding none, the Court ACCEPTS      the Findings, Conclusions,

and Recommendation of the United States Magistrate Judge. By separate judgment, Petitioner’s

case will be DISMISSED WITHOUT PREJUDICE.

        SO ORDERED.

        SIGNED July 9, 2025.




                                                   UNITED STATES DISTRICT JUDGE
